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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF RHODE ISLAND
____________________________________
JOHN DOE,                            )
                                     )
            Plaintiff,               )
                                     )
      v.                             )
                                     )  Civil Action No. 18-cv-106-JJM-LDA
JOHNSON & WALES UNIVERSITY,          )
                                     )
            Defendant                )
____________________________________)


         ASSENTED TO MOTION TO EXTEND TIME TO FILE RESPONSE TO
              DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Now comes the Plaintiff, by counsel, and respectfully requests that this Honorable Court

extend the time in which the Plaintiff may file a Response to the Defendant’s Motion for

Summary Judgment (“Motion”) up to and including August 9, 2019.

       In support thereof, the Plaintiff states that he is continuing to research and prepare his

Response to the Motion and needs further time to vet and draft his full response. The current

deadline to respond is today’s date of July 19, 2019. The Plaintiff requests an extension up to and

including August 9, 2019. The Plaintiff will not need any further extensions.

       The Defendant, by its counsel, has assented to this extension Request.

       WHEREFORE, the Plaintiff respectfully requests that this Honorable Court extend the

period of time in which the Plaintiff may file his Response to the pending Motion for Summary

Judgment up to and including August 9, 2019,



                                              Respectfully submitted,
                                              JOHN DOE,
                                              By his attorney,
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                                             __/s/ James P. Ehrhard____________________
                                             James P. Ehrhard, Esq., Mass. BBO #651797
                                             Ehrhard & Associates, P.C.
                                             250 Commercial Street, Suite 410
                                             Worcester, MA 01608
                                             (508) 791-8411
                                             ehrhard@ehrhardlaw.com
Dated: July 19, 2019




                                CERTIFICATE OF SERVICE

       I, James P. Ehrhard, hereby certify that I served the above Motion to the following parties
on today’s date via U.S. Mail postage prepaid if not noted as having received copies via ECF:

Jeffrey S. Brenner, Esq., VIA ECF

Steven M. Richard, Esq., VIA ECF


                                                    /s/ James P. Ehrhard_____
                                                    James P. Ehrhard, Esq.


Dated: July 19, 2019
